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 2
     McCARTHY & HOLTHUS, LLP
 3   8502 E. Via de Ventura, Suite 200
     Scottsdale, AZ 85258
 4   Phone (877) 369-6122
 5   Fax (480) 302-4101

 6   Attorney for: Movant,
     Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or successors
 7
 8                           UNITED STATES BANKRUPTCY COURT
 9
                                      DISTRICT OF ARIZONA
10
                                         PHOENIX DIVISION
11
12                                                 )   Case No. 2:18-bk-00632-PS
     In re:                                        )
13
                                                   )   Chapter 7
     Cheryl Jane Allen and Timothy Lee Allen,      )
14
                                                   )
15                      Debtors.                   )   NOTICE OF LODGEMENT / PROOF OF
     ________________________________ )                SERVICE OF ORDER TERMINATING
16   Nationstar Mortgage LLC d/b/a Mr. Cooper, its )   AUTOMATIC STAY
17   assignees and/or successors,                  )
                                                   )
18                      Movant,
                                                   )
19     v.                                          )
                                                   )
20   Cheryl Jane Allen and Timothy Lee Allen,      )
     Debtors; Maureen Gaughan, Chapter 7 Trustee, )
21
                                                   )
22                      Respondents.               )
                                                   )
23                                                 )
24                                                 )

25            TO ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
26
     ///
27
     ///
28
     ///
29


     File No. AZ-18-142929                        1                              Case No. 2:18-bk-00632-PS
                                                           Proof of Service of Order Terminating Automatic Stay
     Case 2:18-bk-00632-MCW        Doc 32 Filed 05/22/18 Entered 05/22/18 16:46:07                         Desc
                                   Main Document    Page 1 of 3
 1
             PLEASE TAKE NOTICE that Movant its assignees and/or successors in interest, has
 2
     lodged with the Court an Order. A true and correct copy of the Order is attached hereto as
 3
     Exhibit “1”.
 4
 5                                                      Respectfully submitted,

 6                                                      McCARTHY & HOLTHUS, LLP

 7
             Dated: May 22, 2018                         By:     /s/ Ross Mumme
 8                                                               Ross Mumme, Esq.
                                                                 Attorney for Secured Creditor
 9
10
             On 5/22/2018, I served the foregoing documents described as ORDER
11
     TERMINATING AUTOMATIC STAY on the following individuals by electronic means
12
     through the Court’s ECF program:
13
14           COUNSEL FOR DEBTORS
15           M. Preston Gardner
             pgardner@davismiles.com
16
              I declare under penalty of perjury under the laws of the United States of America that the foregoing
17   is true and correct.

18
                                                                            /s/ Salvador Arroyo
19
                                                                            Salvador Arroyo
20
21           On 5/22/2018, I served the foregoing documents described as ORDER
22   TERMINATING AUTOMATIC STAY, on the following individuals by depositing true
23   copies thereof in the United States mail at San Diego, California, enclosed in a sealed envelope,
24   with postage paid, addressed as follows:
25
             UNITED STATES TRUSTEE
26           Phoenix Division
27           230 North First Avenue, Suite 204
             Phoenix, AZ 85003-1706
28
29


     File No. AZ-18-142929                                2                             Case No. 2:18-bk-00632-PS
                                                                  Proof of Service of Order Terminating Automatic Stay
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                                        Main Document    Page 2 of 3
 1           COUNSEL FOR DEBTORS
             M. Preston Gardner
 2
             David Miles McGuire Gardner, PLLC
 3           40 E. Rio Salado Pkwy, #425
             Tempe, AZ 85281
 4
 5           DEBTORS
             Cheryl Jane Allen
 6           16735 N. Maryland Avenue
             Surprise, AZ 85378
 7
 8           Timothy Lee Allen
             16735 N. Maryland Avenue
 9           Surprise, AZ 85378
10
             TRUSTEE
11           Maureen Gaughan
             PO Box 6729
12           Chandler, AZ 85246
13
             OTHER LIEN HOLDERS
14           Sundial West HOA
             c/o Mutual Management Services
15
             P.O. Box 27008
16           Phoenix, AZ 85061

17           SPECIAL NOTICE
18           Synchrony Bank
             Attn: Managing Agent
19           c/o PRA Receivables Management, LLC
             PO Box 41021
20           Norfolk, VA 23541
21
22            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
23
                                                                            /s/ Hue Banh
24
                                                                            Hue Banh
25
26
27
28
29


     File No. AZ-18-142929                                3                             Case No. 2:18-bk-00632-PS
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